                                                                              Motion (DE #364) GRANTED.



                            UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF TENNESSEE


NIKKI BOLLINGER GRAE, Individually and )            Civil Action No. 3:16-cv-02267
on Behalf of All Others Similarly Situated, )
                                            )       Honorable Aleta A. Trauger
                             Plaintiff,     )
                                            )       Magistrate Judge Jeffrey S. Frensley
      vs.                                   )
                                            )
CORRECTIONS CORPORATION OF                  )
AMERICA, et al.,                            )
                                            )
                             Defendants.    )
                                            )



      DEFENDANTS’ MOTION FOR LEAVE TO FILE UNDER SEAL CERTAIN
    CONFIDENTIAL DOCUMENTS IN CONNECTION WITH THEIR MOTION FOR
                       SUMMARY JUDGMENT


       Pursuant to Rules 5.03 and 7.01 of the Civil Local Rules of Court, the Revised Stipulation

and Protective Order entered in this case (Dkt. No. 86) (the “Protective Order”) and the Stipulation

and Order Amending Protective Order to Protect Source Selection Information (the “SSI

Protective Order”) (Dkt. No. 177), Defendants respectfully request the Court grant Defendants

leave to file under seal the Memorandum of Law, the Statement of Undisputed Material Facts and

forty-six exhibits filed in support of Defendants’ Motion for Summary Judgment.1 The limited

documents Defendants seek to file under seal (i) were designated as Confidential or Source

Selection Information by third-parties, including the Bureau of Prisons (“BOP”); (ii) contain

confidential and proprietary information concerning the business strategies and operations of

CoreCivic, Inc., formerly known as Corrections Corporation of America, Inc. (the “Company”),

which if made public, would cause serious injury to the Company; and/or (ii) contain confidential


1
 Defendants are concurrently filing a version of the Memorandum of Law and Statement of
Undisputed Material Facts with all confidential material redacted.


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